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Anna Levine

From: Brenner, Wendy [BRENNERWJ@cooley.com ]
Sent:      Thursday, December 09, 2010 2:26 PM
To:        Anna Levine
Subject: RE: Enyart: Proposal for Third Preliminary Injunction
Hi Anna —Thanks for the ideas. I will need to discuss these with NCBE. I will do that, and get back to
you.

Wendy Brenner
Cooley LLP
3175 Hanover Street
Palo Alto, CA 94304-1130
Direct: (650) 843-5371 • Fax: (650) 849-7400

From: Anna Levine [mailto:alevine@dralegal.org]
Sent: Thursday, December 09, 2010 1:48 PM
To: Brenner, Wendy
Subject: RE: Enyart: Proposal for Third Preliminary Injunction

I spoke further with Stephanie. She is willing to use NCBE's computer, provided she has adequate time
and support beforehand to ensure that the software is working and everything is set up, so that she does
not need to deal with technological issues in the middle of the examination week.

An alternative proposal that would address her concerns is that we largely keep to the terms of the
second preliminary injunction, but extend the time and support for set up prior to the examination:



      • NCBE makes its laptop available on Thursday, February 17, 2011 for inspection by Stephanie and
        a tech person of Stephanie's choice to make certain that the software is loaded in such a way that
        it works (that is, we get the computer to read something). Someone is available who has
        administrative privileges to alter programs on the laptop, if necessary.
      • NCBE makes its laptop available once again on Monday, February 21, 2011, for Stephanie to set
        up her peripherals at the same time that she sets up the peripherals for her own laptop that she will
        use for the written portion of the exam. From that time forward until Stephanie takes the MBE
        portion of the exam (on Saturday and Sunday, February 26 and 27, 2011) the NCBE laptop would
        remain set up with the peripherals. That is, there would be two laptops set up in the
        guarded examination room, and the desk with the laptop for the MBE would basically be moved
        into position at the end of the written exam and prior to the MBE portion of the exam.




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